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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK



 LITTLE GEN TOYS LLC,                                                  Civil Action No.

                       Plaintiff,
                                                                  COMPLAINT FOR
                 v.                                           DECLARATORY JUDGMENT

                                                                          ECF CASE
 THE LITTLE GYM INTERNATIONAL,
 INC.,

                      Defendant.



                                      NATURE OF ACTION

       1.      This is an action under the Lanham Act, 15 U.S.C. § 1501 et seq., for a judgment

declaring that Little Gen Toys LLC (“Plaintiff” or “Little Gen”) has not infringed The Little

Gym International, Inc.’s (“Defendant” or “LGI”) purported rights in the marks THE LITTLE


GYM, U.S. Trademark Registration No. 4522568, and                    , U.S. Trademark Registration

No. 4522569 (collectively the “LGI Marks”).

                                    JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. §

1121 for claims arising under the Lanham Act, 15 U.S.C. § 1051 et seq., and under the

Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.

       3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claim in this Complaint occurred in this district.
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                                         THE PARTIES

       4.      Plaintiff, Little Gen, is a limited liability company organized and existing under

the laws of the State of New York, with a place of business located at 266 47th Street, Brooklyn,

New York 11220.

       5.      Little Gen sells, advertises, markets, and promotes children’s toys to consumers

on Amazon.com under the trademark LI’L GEN.

       6.      Defendant is a corporation organized and existing under the laws of the State of

Delaware, with its principal place of business at 7500 North Dobson Road, #220, Scottsdale,

Arizona 85256.

       7.      Defendant operates gyms for children under the highly descriptive mark THE

LITTLE GYM.

       8.      Defendant regularly does business in the State of New York, including within the

Eastern District of New York, and specifically in Brooklyn, Rockville Centre, Merrick,

Levittown and Roslyn.

                                  FACTUAL BACKGROUND

       9.      Plaintiff Little Gen is a new company, having started its business in 2017. Since

opening its business, Little Gen has developed a growing line of children’s toys that it advertises,

promotes, offers for sale on the online retail commerce website, Amazon.com.

       10.     As explained herein, Defendant LGI has objected to the present and future use of

the marks LI’L GEN and LITTLE GEN and has accused Plaintiff of infringement of its

trademarks.




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       PLAINTIFF’S TRADEMARKS WERE APPROVED BY THE EXAMINING
       ATTORNEY AT THE U.S. PATENT & TRADEMARK OFFICE

       11.     On September 4, 2017, Little Gen filed two federal trademark applications with

the United States Patent and Trademark Office (“USPTO”).

       12.     The applications were filed as intent-to-use trademark applications under the

provisions of the Lanham Act, 15 U.S.C. § 1051(b).

       13.     One of these applications is for the mark LI’L GEN, Application Serial No.

87595244. The second application is for the mark LITTLE GEN, Application Serial No.

87595248. Unless referred to individually, these marks are collectively referred to hereinafter as

“Plaintiff’s GEN Marks.”

       14.     The goods listed under each of the applications for Plaintiff’s GEN Marks are as

follows:

       Children's educational toys for developing fine motor, cognitive oral language,
       numbers, counting, colors, shape and alphabet skills; children's multiple activity
       toys; bath toys; Toys, namely, children's dress up accessories; dolls and doll
       accessories; educational toys for developing fine motor, cognitive oral language,
       numbers, counting, colors, shape and alphabet skills; electronic learning toys;
       electric action toys; electronic action toys; electronic toy vehicles; electronically
       operated toy motor vehicles; drawing toys; play houses and toy accessories
       therefor; construction toys; crib toys; musical toys; play mats containing infant
       toys; battery operated action toys; mechanical action toys; mechanical toys; radio
       controlled toys, namely, cars, race cars, airplanes, boats, animals; remote
       controlled toys, namely, cars, race cars, airplanes, boats, animals; sketching toys;
       toy tools; toy vehicles

       15.     The applications for Plaintiff’s GEN Marks each underwent a thorough

examination at the USPTO by a qualified USPTO Examining Attorney.

       16.     Based upon the examination, the USPTO Examining Attorney approved both of

Plaintiff’s GEN Marks for registration.

       17.     In particular, in a Priority Action dated December 14, 2017 on each of Plaintiff’s



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GEN Marks, the Examining Attorney stated that he “has searched the USPTO’s database of

registered and pending marks and has found no conflicting marks that would bar registration

under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).” (Emphasis

added.)

          18.   Thereafter, after submitting minor amendments which were approved by the

Examining Attorney, both of the applications for Plaintiff’s GEN Marks were published for

opposition in the Official Gazette on February 20, 2018.

          19.   On March 22, 2018, on the last day of the opposition period, LGI sought an

extension of time to commence an opposition proceeding (“Opposition”) against the Plaintiff’s

application for LITTLE GEN.

          20.   Notably, LGI did not seek a corresponding extension of time to oppose Little

Gen’s other application for the mark LI’L GEN.

          21.   Accordingly, on April 17, 2018, the Examining Attorney issued a Notice of

Allowance for the mark LI’L GEN in connection with the listed goods, as amended.

          22.   On November 23, 2018, Plaintiff filed a Statement of Use and specimens in

connection with its application for the mark LI’L GEN.

          23.   Barring extraordinary circumstances, the application for the mark LI’L GEN is

expected to proceed to registration by the USPTO in due course.

          24.   That LGI has allowed Plaintiff’s application for the LI’L GEN mark to proceed to

registration, without opposition, and despite knowledge of its existence further undermines its

claim that there is any likelihood of confusion between the Plaintiff’s GEN Marks and the LGI

Marks.




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       25.       With regard to Plaintiff’s other pending application for the mark LITTLE GEN,

on June 19, 2018, LGI sought a further extension of time to initiate the Opposition.

       26.       LGI followed up this request for an extension by filing a Notice of Opposition on

August 20, 2018. Thus, the Opposition instituted by LGI with respect to the mark LITTLE GEN

is pending at the USPTO.

       DEFENDANT’S ACCUSATION OF TRADEMARK INFRINGEMENT

       27.       On April 25, 2018, about a week after the Examining Attorney issued a Notice of

Allowance for the mark LI’L GEN, but prior to LGI’s initiation of the Opposition against the

registration of the mark LITTLE GEN, LGI’s counsel sent a cease and desist letter to Little

Gen’s counsel (hereinafter “Cease and Desist Letter”, attached as Exhibit A). The Cease and

Desist Letter asserted claims of trademark infringement with respect to both of the GEN Marks

       28.       The Cease and Desist Letter includes a caption that reads “Trademark

Infringement.”

       29.       On page 2 of the Cease and Desist Letter, LGI asserts that Plaintiff’s GEN Marks

are confusingly similar to the LGI Marks. In particular, LGI asserts that Plaintiff’s GEN Marks

and LGI Marks are highly similar to one another in sight and sound. LGI also asserts that

Plaintiff’s GEN Marks and LGI Marks have the same “connotation and commercial impression.”

Based on the foregoing, LGI asserts in the Cease and Desist Letter that Plaintiff’s use of

Plaintiff’s GEN Marks infringes LGI’s rights in the LGI Marks.

       30.       The Cease and Desist Letter further states:

       As you are aware, Little Gen’s liability for trademark infringement is significant.
       Moreover, given LGI’s well-known brand, we consider any use of confusingly similar
       trademarks by Little Gen to be willful infringement and LGI would seek enhanced
       damages and the recovery of attorneys' fees as permitted under the Lanham Act.




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       31.     In the Cease and Desist Letter, LGI demands that Plaintiff (1) abandon its

applications for the GEN Marks; (2) agrees to cease all use and refrain from future use of the

GEN Marks and any other mark that contains the word LITTLE GEN, LI’L GEN or a

confusingly similar term; and (3) agrees not to use the GEN Marks or any other similar mark in

connection with children’s learning toys.

       32.     Contrary to LGI’s contentions, and consistent with those of the Examining

Attorney who examined the applications for Plaintiff’s GEN Marks, there is no likelihood of

confusion between Plaintiff’s GEN Marks and the LGI Marks.

       33.     Indeed, since initiating its sales on Amazon.com, there has not been a single

instance of actual consumer confusion brought to the attention of Plaintiff.

       34.     This is quite understandable because Plaintiff’s GEN Marks and the packaging of

products that are advertised and sold in connection with Plaintiff’s GEN Marks look very

different than the LGI Marks, as demonstrated below:

             LI’L GEN PRODUCTS                          THE LITTLE GYM PRODUCTS




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       35.     Contrary to the contentions of LGI, Plaintiff’s actual and proposed future use of

Plaintiff’s GEN Marks in connection with the advertising, marketing, offering for sale, and sale

of children’s toys and related products is unlikely to cause consumer confusion.

       36.     By virtue of the foregoing, Plaintiff is compelled to seek a declaration from this

Court that it does not infringe LGI’s trademarks and/or that LGI’s asserted rights in the LGI

Marks are invalid or unenforceable.




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                                           COUNT I
                       Declaration of Non-Infringement of the LGI Marks

           37.   Little Gen repeats and realleges the allegations set forth above in paragraphs 1

through 36 as though fully set forth herein.

           38.   An actual controversy has arisen and now exists between Plaintiff and Defendant

concerning whether Plaintiff’s GEN Marks infringe or are likely to infringe upon the LGI Marks.

           39.   LGI filed an Opposition to Plaintiff’s trademark application for the LITTLE GEN

mark despite knowing that any claim of infringement would be without merit.

           40.   LGI has also alleged infringement and the existence of consumer confusion

relating to Plaintiff’s LI’L GEN mark which is currently proceeding towards registration with the

USPTO.

           41.   Consumers of children’s products are not confused and are not likely to be

confused as to the respective sources of products sold under the LGI Marks and Plaintiff’s GEN

Marks.

           42.   The scope of LGI’s purported marks is considerably more narrow in scope than it

asserts.

           43.   Therefore, Plaintiff does not infringe and is not likely to infringe LGI’s trademark

rights through the advertising, marketing, promotion, offer for sale, or sale of children’s products

and/or other products bearing Plaintiff’s GEN Marks.

           44.   By virtue of the foregoing, Plaintiff desires a judicial determination of the parties’

rights and duties with respect to the trademark rights asserted by LGI.

           45.   A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights as determined by the Court.




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          WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

          A.     Judgment declaring that the LGI Marks are not infringed by Plaintiff through its

advertisements, marketing, promotions, offers for sale, and sales of products bearing Plaintiff’s

GEN Marks, and/or any other use thereof;

          B.     Judgment enjoining LGI from any Opposition and/or other actions that interfere

with Plaintiff’s application(s) for registration and/or which may seek cancellation of the GEN

Marks at the USPTO;

          C.     Award of costs, expenses, and reasonable attorney’s fees to Plaintiff as permitted

by law; and,

          D.     Award of such other and further relief to Plaintiff as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a jury on all issues so triable.


                                                      STERN & SCHURIN LLP


                                                      By:____________________________
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                                                      Telephone: (516) 248-0300
                                                      Facsimile: (516) 283-0277


Dated: November 28, 2018
       Garden City, New York

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                            EXHIBIT A
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                                                                                                                                VIA E-MAIL
                                                                                  CONFIRMATION BY FIRST CL.ASS MAIL

 Steven Stern, Esq.
 Stern & Schurin LLP
 595 Stewart Avenue, Suite 510
 Garden City, New York I1530
 s stern@sternschurin. com




              Re: Trademark Infringement

 Dear Steven:

         Vy'e understand that you represent Little Gen Toys, LLC ("Little Gen") with respect to
 two trademark applications recently filed for LITTLE GEN and LI'L GEN. Our firm represents
 The Little Gym Intemational, Inc. ("LGI") in trademark matters. LGI is a leader in children's
 gym services and through its worldwide franchise system provides high quality gym and exercise
 studios for children. LGI also provides children's learning toys and motor development
 instruction services and has developed a strong brand around various trademarks associated with
 such products and related services, as evidenced by the following federal trademark registrations
 (collectively, the ooTrademarks") :
                            r ¡ r¡ ?r¿r-
                          .TLILLIE
                      o   9Ïm            : U.S. Trademark Registration No. 4522569 for "Learning toys for
                          use in promoting development of throwing, jumping, flexibility, coordination,
                          muscle control, agility, balance, gross motor and problem solving skills in
                          children," filed May 29,2012 and registered April 29,2014;

                      o   THE LITTLE GYM: U.S. Trademark Registration No. 4522568 for ooToys,
                          namely, learning toys for use in promoting development of throwing, jumping,
                          flexibility, coordination, muscle control, agility, balance, gross motor and
                          problem solving skills in children," filed May 29,2012 and registered April 29,
                          20r4;


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                                 Snel¡ & Wilmer ¡s a member of LEX N,lUNDl, The Leading Association ol lndependent Law Firms.
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               LGI's rights in the Trademarks related to toys go back to at least 2012 and LGI has
   expended considerable resources promoting the Trademarks. The Trademarks have become well
   associated with LGI and its provision of high-quality children's learning toys and related
   services.

         LGI recently learned that Little Gen filed U.S. Trademark Application Serial Nos.
   87595248 for LITTLE GEN and 87595244 for LI'L GEN on September 4, 2017, in relation to
   children's educational toys (the "Gen Marks"). The filing dates for the Gen Marks is years after
   LGI's trademark rights began to accrue.

          The Gen Marks are confusingly similar to the Trademarks. First, the Gen Marks are
   highly similar in sight and sound to the Trademarks. In this case, the Gen Marks and the
   Trademarks all have "Little" (or the shorthand version'oI-i'I") in the marks. The Gen Marks also
   contain 'oGen," a one syllable word that looks and sounds nearly identical to LGI's "Gym."
   Second, the Gen Marks are associated with highly similar goods to those associated with the
   Trademarks: children's learning toys. With such similarities in sight, sound, and associated
   goods, the Gen Marks and the Trademarks also have the same connotation and commercial
   impression. Accordingly, your client's use of the Gen Marks would infringe LGI's rights in the
   Trademarks.

          As you are a\ryare, Little Gen's liability for trademark infringement is significant.
   Moreover, given LGI's well-known brand, we consider any use of confusingly similar
   trademarks by Little Gen to be willful infringement and LGI would seek enhanced damages and
   the recovery of attorneys' fees as permitted under the Lanham Act.

           Despite the infringement of LGI's rights, LGI believes that an amicable resolution to this
   dispute cari be achieved. To that end, LGI will not take any action against your client if Little
   Gen: 1) abandons the U.S. Trademark Applications for the Gen Marks, 2) agrees to cease all use,
   and refrain from future use, of the Gen Marks and any other mark that contains the word "Little
   Gen," o'Li'l Gen," or a confusingly similar term, 3) agrees not to use the Gen Marks or any other
   similar mark in connection with children's learning toys.




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           Please contact me no later than May 8, 2018 to confirm Little Gen's intent to comply
    with LGI's requests. If we do not hear from you, we will assume that Little Gen is not interested
    in an amiable resolution, and we will advise LGI accordingly.

                                                      Sincerely

                                                                           L.L.P.



                                                      J. Damon



     JDA:db




     4850-7449-2513.2
